                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF LOUISIANA


 PRESS ROBINSON, et al.,

                     Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                     Defendant.
                                            CIVIL ACTION
                                            NO. 3:22-CV-00211-SDD-SDJ
 consolidated with
                                            consolidated with
                                            NO. 3:22-CV-00214-SDD-SDJ
 EDWARD GALMON, SR., et al.,

 Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                     Defendant.


MEMORANDUM IN SUPPORT OF THE STATE’S AND THE SECRETARY’S
         JOINT MOTION FOR EXTENSION OF TIME

       The State and the Secretary of State (together Defendants), respectfully

request a modest four-hour extension of its deadline—from 10:00 a.m. Monday to 2:00

p.m. Monday—to respond to the Galmon Plaintiffs’ Motion for Reconsideration.

       The Court may, for good cause, extend a party’s response date. Fed. R. Civ. P.

6(b)(1)(A). Indeed, the Court has broad discretion over response timelines and may at

any time in its discretion grant an extension of time. See Lujan v. Nat’l Wildlife Fed’n

497 U.S. 871, 895–96 (1990).

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      Defendants have good cause to request this extension. This case involves a

challenge to the map for the State’s congressional voting districts enacted in 2022

through House Bill 1 (HB 1). Earlier this year, the Louisiana Legislature passed

Senate Bill 8 (SB 8) that repealed HB1 and enacted a different map. Given the repeal

of HB 1, this Court on April 25, 2024, dismissed this case on mootness grounds. See

ECF No. 371.

      Meanwhile, a different group of plaintiffs challenged the constitutionality of

SB 8 in the Western District of Louisiana. See Compl., Callais v. Landry, No. 3:24-

cv-00122 (W.D. La. Jan. 31, 2024), ECF No. 1. That case was assigned to a three-

judge panel, which held a three-day trial on the merits on April 8–10, 2024. On April

30, 2024, the Callais court enjoined SB 8 and scheduled a status conference for May

6, 2024, at 10:30 a.m. to discuss the remedial phase of that litigation. See Inj. &

Reasons for J., Callais, No. 3:24-cv-00122 (W.D. La. Apr. 30, 2024), ECF No. 198 at

59.

      In response to the Callais court’s injunction of SB 8, the Galmon Plaintiffs have

asked this Court to reconsider dismissing this case on mootness grounds and to

schedule a remedial phase. See ECF No. 372. This Court set Defendants’ deadline for

responding to the Galmon Plaintiffs’ Motion for 10:00 a.m. on Monday, May 6—30

minutes prior to the Callais status conference.

      Because any decisions made at the Callais status conference (or shortly

thereafter) very well may affect the Galmon Plaintiffs’ Motion, Defendants ask for a

very modest four-hour extension to allow them enough time to attend the Callais



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status conference and incorporate in their responses any decisions made at, or

relevant information from, that conference. A four-hour extension will not prejudice

the Galmon Plaintiffs because Defendants will respond on the same date, allowing

resolution of the Galmon Plaintiffs’ Motion to remain on its current timetable.

      In sum, the interplay between this case and Callais counsels in favor of a

modest four-hour extension. The Callais status conference on Monday will likely shed

light on the immediate future of that litigation and how, if at all, it affects this case.

For these reasons, there is good cause to allow Defendants an additional four hours

to respond to the Galmon Plaintiffs’ Motion for Reconsideration.


Dated: May 2, 2024                              Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

      I hereby declare that I served the foregoing document on counsel for all parties

via email on May 2, 2024.


                               /s/ Morgan Brungard
                                 Morgan Brungard




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